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   EVEREST NATIONAL INSURANCE
 8 COMPANY
 9
                            UNITED STATES DISTRICT COURT
10
                          SOUTHERN DISTRICT OF CALIFORNIA
11
12
   BANK OF SOUTHERN                        Case No. '22CV737 GPC RBB
13 CALIFORNIA, N.A., a California
   corporation; SOUTHERN                   [Removed from San Diego County Superior
14 CALIFORNIA BANCORP, a                   Court Case No. 37-2022-00015277-CU-IC-
   California corporation
15                                         CTL]
                Plaintiffs,
16                                         DEFENDANT EVEREST NATIONAL
          v.                               INSURANCE COMPANY’S NOTICE
17                                         OF REMOVAL
   EVEREST NATIONAL
18 INSURANCE COMPANY, a                    [28 U.S.C. § 1441(b) (Diversity)]
   corporation; DOES 1 through 20,
19 inclusive
20                  Defendants.
21
22
23
24
25             PLEASE TAKE NOTICE THAT defendant Everest National Insurance
26 Company (“Everest”), pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, files this
27 Notice of Removal, based on diversity of citizenship, to effect the removal of the
28 above-captioned case, Case No. 37-2022-00015277-CU-IC-CTL, from the Superior
     6705683                          1                           Case No.
      DEFENDANT EVEREST NATIONAL INSURANCE COMPANY’S NOTICE OF REMOVAL
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                                                         1 Court of the State of California, County of San Diego, to the United States District
                                                         2 Court for the Southern District of California. Removal is proper for the following
                                                         3 reasons:
                                                         4                                      BACKGROUND
                                                         5             1.   On April 25, 2022, plaintiffs Bank of Southern California, N.A.
                                                         6 (“SoCal Bank”) and Southern California Bancorp (“SoCal Bancorp”) (collectively
                                                         7 referred to herein as “Plaintiffs”) filed a complaint bearing Case No. 37-2022-
                                                         8 00015277-CU-IC-CTL in the Superior Court of the State of California for the
                                                         9 County of San Diego (the “State Court Action”). A true and correct copy of the
                                                        10 Complaint in the State Court Action is attached as Exhibit A to the Declaration of
                                                        11 J.A. Taylor Meehan filed concurrently with this document (“Meehan Decl.”).
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                                                        12             2.   The Complaint alleges causes of action against Everest for (1) breach
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                                                        13 of contract, (2) breach of the implied covenant of good faith and fair dealing (bad
                                                        14 faith), (3) specific performance, and (4) declaratory relief (duty to defend).
                                                        15             3.   On April 26, 2022, the San Diego Superior Court issued a Summons to
                                                        16 be served on Everest. A true and correct copy of the Summons is attached as
                                                        17 Exhibit B to the Meehan Decl. Everest was subsequently served with a copy of the
                                                        18 Summons and Complaint in the State Court Action. Plaintiffs have not filed a
                                                        19 Service of Process Transmittal Cover Sheet in the State Court Action that identifies
                                                        20 the date of service. As such, Everest is filing its Notice of Removal within thirty
                                                        21 days from the date the State Court Action was filed.
                                                        22             4.   Along with the Summons and Complaint, Plaintiffs also served a Civil
                                                        23 Case Cover Sheet and Notice of Case Assignment and Case Management
                                                        24 Conference. A true and correct copy of the Civil Case Cover Sheet is attached as
                                                        25 Exhibit C to the Meehan Decl., and a true and correct copy of the Notice of Case
                                                        26 Assignment and Case Management Conference is attached as Exhibit D to the
                                                        27 Meehan Decl.
                                                        28
                                                             6705683                          2                           Case No.
                                                              DEFENDANT EVEREST NATIONAL INSURANCE COMPANY’S NOTICE OF REMOVAL
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                                                         1             5.    The Superior Court assigned the case to Judge Richard S. Whitney and
                                                         2 a civil case management conference was set for October 7, 2022.
                                                         3             6.    Everest has not filed an answer or other responsive pleading, or
                                                         4 otherwise appeared, in the State Court Action.
                                                         5                                TIMELINESS OF REMOVAL
                                                         6             7.    This Notice of Removal is timely because it is filed within thirty days
                                                         7 of the date the summons and complaint was served. 28 U.S.C. § 1446(b); see also
                                                         8 Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 354 (1999).
                                                         9                                 GROUNDS FOR REMOVAL
                                                        10             8.    This Court has original jurisdiction over this action pursuant to 28
                                                        11 U.S.C. § 1332(a) because there is complete diversity between Plaintiffs on the one
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                                                        12 hand, and Everest on the other hand, and the amount in controversy exceeds
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                                                        13 $75,000, exclusive of interest and costs, and removal is appropriate pursuant to 28
                                                        14 U.S.C. § 1441(a).
                                                        15                               DIVERSITY OF CITIZENSHIP
                                                        16             9.    Diversity of citizenship exists when a suit is between citizens of
                                                        17 different States. 28 U.S.C. § 1332(a). A corporation is a citizen of every State in
                                                        18 which it has been incorporated and of the State where it has its principal place of
                                                        19 business. 28 U.S.C. § 1332(c)(1); see also Hertz v. Friend, 559 U.S. 77, 95-96
                                                        20 (2010).
                                                        21             10.   Plaintiff SoCal Bank alleges in its Complaint that it is, and at the time
                                                        22 of the filing of the Complaint was, a corporation organized and existing under the
                                                        23 laws of the State of California and transacting business within California. See
                                                        24 Meehan Decl., ¶ 9; and Exhibit A, ¶ 2. Currently, and at the time of the filing of the
                                                        25 Complaint, according to Statements of Information provided to the California
                                                        26 Secretary of State, plaintiff SoCal Bank maintains its principal place of business in
                                                        27 San Diego, California. See Meehan Decl., ¶ 9; and Exhibit E.
                                                        28
                                                             6705683                          3                           Case No.
                                                              DEFENDANT EVEREST NATIONAL INSURANCE COMPANY’S NOTICE OF REMOVAL
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                                                         1             11.   Plaintiff SoCal Bancorp alleges in its Complaint that it is, and at the
                                                         2 time of the filing of the Complaint, was a corporation organized and existing under
                                                         3 the laws of the State of California and transacting business within California. See
                                                         4 Meehan Decl., ¶ 10; and Exhibit A, ¶ 3. Currently, and at the time of the filing of
                                                         5 the Complaint, according to Statements of Information provided to the California
                                                         6 Secretary of State, plaintiff SoCal Bancorp maintains its principal place of business
                                                         7 in San Diego, California. See Meehan Decl., ¶ 10; and Exhibit F.
                                                         8             12.   According to the records of the Delaware Secretary of State and
                                                         9 National Association of Insurance Commissioners, defendant Everest is, and at the
                                                        10 time of the filing of the Complaint, was a corporation incorporated under the laws of
                                                        11 the State of Delaware. Everest maintains its principal place of business in New
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                                                        12 Jersey. Hertz v. Friend, 559 U.S. 77, 95-96 (2010). See Meehan Decl., ¶ 11; and
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                                                        13 Exhibits G, H.
                                                        14             13.   The residence and citizenship of fictitious and unknown defendants
                                                        15 should be ignored for the purpose of establishing removal jurisdiction. 28 U.S.C.
                                                        16 § 1441(b); Fristoe v. Reynolds Metals Co., 615 F.2d 1209, 1213 (9th Cir. 1980).
                                                        17 Thus, the potential citizenship of Does 1-20 does not deprive this Court of
                                                        18 jurisdiction.
                                                        19             14.   Because Plaintiffs and Everest are citizens of different States, there is
                                                        20 complete diversity of citizenship for jurisdictional purposes.
                                                        21             15.   Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(a)(2) and
                                                        22 (3) because this is a civil action in which the subject matter jurisdiction is founded
                                                        23 only on diversity of citizenship and is brought in a judicial district in which each
                                                        24 defendant is subject to personal jurisdiction.
                                                        25                               AMOUNT IN CONTROVERSY
                                                        26             16.   Although Everest disagrees that there is liability in the first instance or
                                                        27 that Plaintiffs sustained damages in any amount, the amount in controversy exceeds
                                                        28 $75,000 exclusive of interest and costs:
                                                             6705683                          4                           Case No.
                                                              DEFENDANT EVEREST NATIONAL INSURANCE COMPANY’S NOTICE OF REMOVAL
                                                        Case 3:22-cv-00737-GPC-RBB Document 1 Filed 05/23/22 PageID.5 Page 5 of 7




                                                         1                   a.     Plaintiffs’ complaint seeks insurance policy benefits under a
                                                         2             Directors & Officers Liability policy issued by Everest to Plaintiffs. Plaintiffs
                                                         3             contend that Everest wrongfully denied its obligation to reimburse Plaintiffs
                                                         4             for the defense fees and costs incurred by individual defendants, who are
                                                         5             current SoCal Bank employees, in the underlying action entitled PacWest
                                                         6             Bancorp, et al., v. David I. Rainer, et al., Los Angeles County Superior Court,
                                                         7             Case No. 20STCV46002 (the “PacWest action”). Plaintiffs assert that, as a
                                                         8             result of Everest’s alleged breach of contract, Plaintiffs have incurred in
                                                         9             excess of $400,000 in defending the individual defendants in the PacWest
                                                        10             action. See Meehan Decl., Exhibit A at ¶¶, 77, 107, 112. Plaintiffs seek this
                                                        11             amount from Everest in this action.
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                                                        12                   b.     Plaintiffs also seek attorneys’ fees for pursuing insurance policy
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                                                        13             benefits (See Meehan Decl., Exhibit A at Prayer, ¶ 3) based upon Brandt v.
                                                        14             Superior Court, 37 Cal. 3d 813, 815 (1985), which provides that “[w]hen an
                                                        15             insurer tortiously withholds benefits” due under a policy, the insureds’
                                                        16             “attorneys’ fees, reasonably incurred to compel payment of the policy
                                                        17             benefits” are recoverable as an element of damages. As an element of
                                                        18             damages, a plaintiff’s claim for attorneys’ fees is used to determine the
                                                        19             amount in controversy. Galt G/S v. JSS Scandinavia, 142 F.3d 1150, 1155-
                                                        20             1156 (9th Cir. 1998).
                                                        21                   c.     Plaintiffs also seek punitive damages (See Meehan Decl., Exhibit
                                                        22             A at ¶¶ 99, and Prayer, at ¶ 2.d.), which are included in determining whether
                                                        23             the amount in controversy exceeds $75,000. See Bell v. Preferred Life Assur.
                                                        24             Soc. Of Montgomery, Ala., 320 U.S. 238, 240 (1943) (“Where both actual and
                                                        25             punitive damages are recoverable under a complaint each must be considered
                                                        26             to the extent claimed in determining jurisdictional amount.”); Gibson v.
                                                        27             Chrysler Corp., 261 F.3d 927, 945 (9th Cir. 2001) (“It is well established that
                                                        28             punitive damages are part of the amount in controversy in a civil action.”).
                                                             6705683                          5                           Case No.
                                                              DEFENDANT EVEREST NATIONAL INSURANCE COMPANY’S NOTICE OF REMOVAL
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                                                         1             17.   Although Everest denies that Plaintiffs are entitled to recover policy
                                                         2 benefits or other damages in any amount, based upon the above referenced facts, the
                                                         3 aggregate value of Plaintiffs’ claims and damages sought is well in excess of
                                                         4 $75,000. Moreover, and as set forth by the U.S. Supreme Court in Dart Cherokee
                                                         5 Basin Operating Co., LLC v. Owens, 574 U.S. 81, 135 S. Ct. 547, 554 (2014), “as
                                                         6 specified in § 1446(a), a defendant’s notice of removal need include only a plausible
                                                         7 allegation that the amount in controversy exceeds the jurisdictional threshold.
                                                         8 Evidence establishing the amount is required by § 1446(c)(2)(B) only when the
                                                         9 plaintiff contests, or the court questions, the defendant’s allegation.” Here,
                                                        10 Plaintiffs allege that the amount in controversy exceeds $400,000, at a minimum.
                                                        11             18.   As a result, the amount in controversy requirement of 28 U.S.C.
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                                                        12 § 1332(a) is satisfied.
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                                                        13                                        CONCLUSION
                                                        14             19.   Removal is proper in this case because Everest has established that
                                                        15 (1) the defendant is completely diverse from Plaintiffs; and (2) the amount in
                                                        16 controversy exceeds $75,000 exclusive of interest and costs. 28 U.S.C. §§ 1332,
                                                        17 1441(b).
                                                        18                        ADDITIONAL PROCEDURAL MATTERS
                                                        19             20.   Everest has filed this Notice of Removal within thirty days of Receipt
                                                        20 of the Summons and Complaint. 28 U.S.C. § 1446(b)(1).
                                                        21             21.   There are no pending cases related to the State Court Action.
                                                        22             22.   Upon filing this Notice of Removal, Everest will provide written
                                                        23 notification to all parties, and will file a Notice to Adverse Party of Removal to
                                                        24 Federal Court with the Clerk of the Court for the San Diego County Superior Court.
                                                        25 See Meehan Decl., ¶ 12.
                                                        26             23.   Copies of all process, pleadings, and orders from the State Action are
                                                        27 being filed with this Notice. See Exhibits A-D to the Meehan Declaration.
                                                        28             24.   For these reasons, this action may be removed to this Court under 28
                                                             6705683                          6                           Case No.
                                                              DEFENDANT EVEREST NATIONAL INSURANCE COMPANY’S NOTICE OF REMOVAL
                                                        Case 3:22-cv-00737-GPC-RBB Document 1 Filed 05/23/22 PageID.7 Page 7 of 7




                                                         1 U.S.C. §§ 1441 and 1446.
                                                         2
                                                         3 Dated: May 23, 2022          CLYDE & CO US LLP
                                                         4
                                                         5                              By:       /s/ Taylor Meehan
                                                         6                                    BRUCE D. CELEBREZZE
                                                                                              BRIAN D. HARRISON
                                                         7                                    J.A. TAYLOR MEEHAN
                                                         8                                    Attorneys for Defendant
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